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November 6, 2020

VIA ECF

Hon. Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re: United States v. Kolfage, et al., No. 20 Cr. 412 (AT)

Dear Judge Torres:

         On behalf of Defendant Stephen Bannon, we write respectfully to request an adjournment
of the status conference currently scheduled for Monday, November 9 at 1:00 p.m. Mr. Bannon
is in the process of retaining new counsel, and Quinn Emanuel intends to move to withdraw. As
a result, Mr. Bannon respectfully requests that the status conference in this matter be adjourned
for three weeks so that he may formally retain new counsel.

       We have conferred with counsel for the government and for Defendants Brian Kolfage,
Andrew Badolato, and Timothy Shea, all of whom consent to an adjournment. This is the second
request Mr. Bannon has made for an adjournment of this status conference.

Respectfully submitted,




William A. Burck




     quinn emanuel urquhart & sullivan, llp
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